Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 1 of 57 Page ID
                                 #:313167


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  13                       UNITED STATES DISTRICT COURT
  14                      CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
  15
  16   CARTER BRYANT, an individual,      Case No. CV 04-9049-DOC (RNBx)
  17                                      Consolidated with Nos. CV 04-9059 and
                  Plaintiff,              CV 05-2727
  18         v.                           Hon. David O. Carter
  19   MATTEL, INC., a Delaware           APPENDIX OF PREVIOUSLY
  20   corporation,                       MARKED TRIAL EXHIBITS IN
                                          SUPPORT OF THE MGA PARTIES'
  21              Defendant.              REQUEST FOR JUDICIAL NOTICE
                                          OF UNITED STATES COPYRIGHT
  22                                      OFFICE DOCUMENTS
       AND CONSOLIDATED ACTIONS
  23
  24
  25                                      Trial Date: January 18, 2011
                                          Judge: Hon. David O. Carter
  26
  27
  28
                                                    APPENDIX OF PREVIOUSLY MARKED EXHIBITS
                                                                        CV-04-9049 DOC (RNBX)
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 2 of 57 Page ID
                                 #:313168


   1
                   Counter-defendants MGA Entertainment, Inc., MGAE de Mexico
   2
       S.R.L. de C.V., MGA HK Ltd., and Isaac Larian (collectively, the “MGA Parties”)
   3
       hereby submit the following Appendix of Previously Marked Exhibits in the MGA
   4
       Parties' Request for Judicial Notice of United States Copyright Office Documents.
   5
                   This Appendix consists of various documents previously marked as
   6
       trial exhibits in this action. The Appendix maintains the exhibit numbers associated
   7
       with the documents in accordance with the requirements of the Local Rules.
   8
                   1.     Attached hereto as TX 27254 is a true and correct copy of Trial
   9
       Exhibit 27254.
  10
                   2.     Attached hereto as TX 27506 is a true and correct copy of Trial
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       Exhibit 27506.
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                   3.     Attached hereto as TX 35958 is a true and correct copy of Trial
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       Exhibit 35958.
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                   4.     Attached hereto as TX 35959 is a true and correct copy of Trial
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       Exhibit 35959.
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                   5.     Attached hereto as TX 35960 is a true and correct copy of Trial
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       Exhibit 35960.
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                   6.     Attached hereto as TX 35961 is a true and correct copy of Trial
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       Exhibit 35961.
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                   7.     Attached hereto as TX 35962 is a true and correct copy of Trial
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       Exhibit 35962.
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                   8.     Attached hereto as TX 35963 is a true and correct copy of Trial
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       Exhibit 35963.
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                   9.     Attached hereto as TX 35964 is a true and correct copy of Trial
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       Exhibit 35964.
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                   10.    Attached hereto as TX 35965 is a true and correct copy of Trial
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       Exhibit 35965.
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                                              -1-        APPENDIX OF PREVIOUSLY MARKED EXHIBITS
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Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 3 of 57 Page ID
                                 #:313169


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                   11.   Attached hereto as TX 35966 is a true and correct copy of Trial
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       Exhibit 35966.
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                   12.   Attached hereto as TX 35967 is a true and correct copy of Trial
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       Exhibit 35967.
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                   13.   Attached hereto as TX 35968 is a true and correct copy of Trial
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       Exhibit 35968.
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                   14.   Attached hereto as TX 35969 is a true and correct copy of Trial
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       Exhibit 35969.
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  10
       Dated: March 29, 2011           Respectfully submitted,
  11
                                       ORRICK, HERRINGTON & SUTCLIFFE LLP
  12
  13
                                       By:               /s/_Diana M. Rutowski
  14
                                                   Attorneys for the MGA Parties
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                                             -2-          APPENDIX OF PREVIOUSLY MARKED EXHIBITS
                                                                              CV-04-9049 DOC (RNBX)
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 4 of 57 Page ID
                                 #:313170




                   TX 27254
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 5 of 57 Page ID
                                 #:313171
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 6 of 57 Page ID
                                 #:313172
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 7 of 57 Page ID
                                 #:313173




                   TX 27506
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 8 of 57 Page ID
                                 #:313174
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 9 of 57 Page ID
                                 #:313175
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 10 of 57 Page ID
                                  #:313176
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 11 of 57 Page ID
                                  #:313177
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 12 of 57 Page ID
                                  #:313178
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 13 of 57 Page ID
                                  #:313179
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 14 of 57 Page ID
                                  #:313180
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 15 of 57 Page ID
                                  #:313181
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 16 of 57 Page ID
                                  #:313182
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 17 of 57 Page ID
                                  #:313183
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 18 of 57 Page ID
                                  #:313184




                   TX 35958
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 19 of 57 Page ID
                                  #:313185
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 20 of 57 Page ID
                                  #:313186
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 21 of 57 Page ID
                                  #:313187
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 22 of 57 Page ID
                                  #:313188




                   TX 35959
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 23 of 57 Page ID
                                  #:313189
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 24 of 57 Page ID
                                  #:313190
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 25 of 57 Page ID
                                  #:313191
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 26 of 57 Page ID
                                  #:313192
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 27 of 57 Page ID
                                  #:313193




                   TX 35960
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 28 of 57 Page ID
                                  #:313194
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 29 of 57 Page ID
                                  #:313195
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 30 of 57 Page ID
                                  #:313196




                   TX 35961
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 31 of 57 Page ID
                                  #:313197
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 32 of 57 Page ID
                                  #:313198
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 33 of 57 Page ID
                                  #:313199
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 34 of 57 Page ID
                                  #:313200
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 35 of 57 Page ID
                                  #:313201




                   TX 35962
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 36 of 57 Page ID
                                  #:313202
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 37 of 57 Page ID
                                  #:313203
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 38 of 57 Page ID
                                  #:313204
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 39 of 57 Page ID
                                  #:313205
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 40 of 57 Page ID
                                  #:313206




                   TX 35963
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 41 of 57 Page ID
                                  #:313207
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 42 of 57 Page ID
                                  #:313208
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 43 of 57 Page ID
                                  #:313209
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 44 of 57 Page ID
                                  #:313210




                   TX 35964
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 45 of 57 Page ID
                                  #:313211
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 46 of 57 Page ID
                                  #:313212
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 47 of 57 Page ID
                                  #:313213
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 48 of 57 Page ID
                                  #:313214




                   TX 35965
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 49 of 57 Page ID
                                  #:313215
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 50 of 57 Page ID
                                  #:313216




                   TX 35966
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 51 of 57 Page ID
                                  #:313217
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 52 of 57 Page ID
                                  #:313218




                   TX 35967
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 53 of 57 Page ID
                                  #:313219
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 54 of 57 Page ID
                                  #:313220




                   TX 35968
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 55 of 57 Page ID
                                  #:313221
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 56 of 57 Page ID
                                  #:313222




                   TX 35969
Case 2:04-cv-09049-DOC-RNB Document 10314-1 Filed 03/29/11 Page 57 of 57 Page ID
                                  #:313223
